Case 2:03-CV-O2O77-.]DB-STA Document 292 Filed 04/21/05 Page 1 of 3 PagelD 213

lN `!'HE UN|TED STATES DISTRICT COURT Fll-' UK,Q)
WESTERN DlSTR|CT OF TENNESSEE AT MEMPHIS ""' ' " `"

WESTERN DlVlS|ON 05; PR 2* PH 5, l.'

 

ROBEHTF%. Dl '_r'iO
Cl_EHK US. Di l. CT.

AUNDREY MEALS individual|y, and as
w..o ol= m M&MPH|S

wife and next friend of JAMES HARVEY
N|EALS deceased,

and as natural parent,

guardian, and next friend of

WlLLlAM MEALS, a minor chlld,

V.

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)
l
PLA|NT|FF, ) No. 03-2077-MA
)
§
C|TY OF MEMPH|S, TENNESSEE, )
BR|DGETTE K|NG, )
and FORD IVIOTOR COMPANY, )

)

)

DEFENDANTS.

 

ORDER DENY|NG DEFENDANT C|TY OF MEMPHIS’ MOTION FOR A
PROTECT|VE ORDER

 

This matter comes before the Court on the Dei`endant City of Memphis’ Motion for a
Protective Order, After having considered the motion, the Court finds that the Defendant’s Motion
is not well-taken and, therefore it is DENIED.

IT lS HEREBY ORDERED that the City of Memphis’ Motion for a Prolective Order and

to Quash the Notice to Take Depositions Duces Tecum issued by the Plaintiff is hereby DENIED.

ENTERED this the ¢X’ ‘ day of g k@r\) 2005
Jud

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 292 in
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